                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                             No. CR11-3003-MWB
 vs.                                             ORDER CONCERNING
                                              MAGISTRATE’S REPORT AND
 TODD REYNOLDS and KRISTIN                   RECOMMENDATION REGARDING
 MCCOY,                                        DEFENDANTS’ MOTION TO
                                                     SUPPRESS
               Defendant.
                               ____________________

                      I. INTRODUCTION AND BACKGROUND
        On January 19, 2011, defendants Todd Reynolds and Kristin McCoy were charged
in an indictment with conspiracy to manufacture and distribute 50 grams or more pure
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, and
possessing pseudoephedrine, in violation of 21 U.S.C. § 841(c)(1) and 841(c)(2).
Reynolds was also charged with manufacturing and attempting to manufacture 5 grams of
more of pure methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B). On
April 4, 2011, McCoy filed a Motion to Suppress in which she seeks to suppress evidence
seized during the execution of a search warrant at her and Reynolds’ residence. On April
5, 2011, Reynolds joined McCoy’s motion. The prosecution filed a timely resistance to
defendants’ motion.
        Defendants’ motion to suppress was referred to Chief United States Magistrate
Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted a hearing and
then filed a Report and Recommendation in which he recommends defendants’ motion to
suppress be denied. Judge Zoss concluded the search warrant was supported by probable




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cause. Judge Zoss further found the Wright County state magistrate who issued the search
warrant had authority to do so even though the search was to be conducted in Hamilton
County. Neither the prosecution nor defendants have filed objections to Judge Zoss’s
Report and Recommendation.


                                II. LEGAL ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the
             district judge, sua sponte or at the request of a party, under a
             de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district

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court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation and orders that defendants’
Motion to Suppress is denied.
       IT IS SO ORDERED.
       DATED this 10th day of May, 2011.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA


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